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          EXHIBIT 68
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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS




                                     )
   UNITED STATES OF AMERICA,         )
                                     )            Criminal Action
             Plaintiff,              )            No. 19-10222-DPW
                                     )
   v.                                )
                                     )
   JEFFREY BIZZACK,                  )
                                     )
             Defendant.              )
                                     )



               BEFORE THE HONORABLE DOUGLAS P. WOODLOCK
                      UNITED STATES DISTRICT JUDGE


                                  SENTENCING


                               October 30, 2019



                 John J. Moakley United States Courthouse
                              Courtroom No. 1
                            One Courthouse Way
                       Boston, Massachusetts 02210




                                          Kelly Mortellite, RMR, CRR
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 1                MS. KEARNEY:     No, Your Honor, because in light of

 2      Skilling, there has to be a bribe or kickback.

 3                THE COURT:     Yes, there does, I agree.      And this is a

 4      case in search of a bribe or kickback, and now I'd like to find

 5      it and find it with specificity because you've got to be able

 6      -- if you want to make a request for an enhanced guideline

 7      range, you've got to identify it.

 8                So now we're back to this question of what was the

 9      bribe that she received?      Because it has to be to her, not some

10      account that she controlled, unless you say it was reasonably

11      foreseeable to him that she was going to toy with that account.

12                MS. KEARNEY:     It was reasonably foreseeable to this

13      defendant because he sent a check directly to her --

14                THE COURT:     To whom --

15                MS. KEARNEY:     -- to be deposited into a USC account.

16                THE COURT:     To whom was the check made out?

17                MS. KEARNEY:     It was made out to the Galen Center.

18                THE COURT:     Was it deposited to the Galen Center?

19                MS. KEARNEY:     It was, and that's an account that Ms.

20      Heinel oversaw.

21                THE COURT:     Right.   And now, the Galen Center, was

22      that a 501(c)(3)?

23                MS. KEARNEY:     This is a facility at USC.

24                THE COURT:     Right.   But would a payment to the Galen

25      Center, apart from machinations that she could undertake, would
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 1      that be a charitable contribution?

 2                 MS. KEARNEY:    My understanding is yes.

 3                 THE COURT:    Okay.   So we've got $50,000 going to the

 4      Galen Center that I gather you say is, at least that's

 5      identifiable bribery?

 6                 MS. KEARNEY:    Yes, Your Honor.

 7                 THE COURT:    Okay.   Anything else?

 8                 MS. KEARNEY:    There are also payments that Mr. Singer

 9      made directly to Ms. Heinel beginning in the summer of 2018.

10      He agreed with her, given the number of students she was

11      helping him admit, including the defendant's son, to pay

12      $20,000 a month.     She would provide invoices to Mr. Singer.

13      One such invoice --

14                 THE COURT:    But how do we particularize that to

15      Mr. Singer?

16                 MS. KEARNEY:    To Mr. Bizzack.

17                 THE COURT:    I mean Mr. Bizzack, sorry.

18                 MS. KEARNEY:    She provided invoices to Mr. Singer.

19                 THE COURT:    Right, but how do we --

20                 MS. KEARNEY:    And one of those invoices identified the

21      defendant's son.

22                 THE COURT:    How much money?

23                 MS. KEARNEY:    That would have been a $20,000 invoice.

24                 THE COURT:    Every time there's an invoice, it's

25      $20,000?
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 1                MS. KEARNEY:     Correct.

 2                THE COURT:     So now we're at 70, giving the government

 3      the benefit of the doubt on this.        Anything else?

 4                MS. KEARNEY:     No, Your Honor.

 5                THE COURT:     Okay.   So we've got a $70,000 bribe that

 6      the government contends here.       Not $250,000.     $70,000.     That's

 7      reasonably foreseeable by anybody in this, unless you take the

 8      position that some speculation on the part of Mr. Bizzack --

 9      sorry if I keep using the wrong pronunciation -- Bizzack, is

10      that the proper --

11                THE DEFENDANT:     Bizzack.

12                THE COURT:     Bizzack.   Okay.    We've got $70,000, right?

13                MS. KEARNEY:     So there was $70,000 actually received

14      by the bribe recipients.

15                THE COURT:     But that was the whole scope, isn't it,

16      from Mr. Singer's point of view?

17                MS. KEARNEY:     Well, the way Mr. Singer worked, the

18      scheme he never disclosed to parents that he was taking a --

19                THE COURT:     He was the hub on this.      And analyzing

20      this as a bribery scheme, it has to be whatever Mr. Singer was

21      prepared to pay to a faithless employee of USC.

22                MS. KEARNEY:     Well, it also involves what the

23      defendant believed his bribe was going to.

24                THE COURT:     So if the defendant believes that somebody

25      says I could get your child into USC for a million dollars,
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 1      doesn't tell him how; it doesn't tell him that it provides

 2      Photoshop services, for example, it's a million-dollar bribe?

 3                MS. KEARNEY:     If the defendant then paid the

 4      million-dollar bribe with the expectation --

 5                THE COURT:     Is there any case law that says something

 6      like that?

 7                MS. KEARNEY:     I believe there is, Your Honor.         I don't

 8      have it at hand.     I can submit something to the court.

 9                THE COURT:     That is reasonably foreseeable by the

10      defendant in a case like this?

11                MS. KEARNEY:     Yes, Your Honor.

12                THE COURT:     For purposes of sentencing, is that it?

13                MS. KEARNEY:     I would --

14                THE COURT:     You don't want to mix up a substantive

15      liability conspiracy with the liability that's identified for

16      purposes of the sentencing guidelines.

17                MS. KEARNEY:     Your Honor, I would have to go back and

18      look at the cases to confirm.

19                THE COURT:     So you're not familiar with any case law

20      that does it.    Another way of saying it is you're not familiar

21      with the case law in this area; is that right?

22                MS. KEARNEY:     Your Honor, I am aware that there are

23      cases.   I have not looked at them recently.         I apologize.

24                THE COURT:     Did you think that that might be important

25      for purposes of sentencing?       That is, the government bears the
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 1      the defendants in Abbott.

 2                MS. KEARNEY:     Well, not where it's a conspiracy,

 3      though.

 4                THE COURT:     Whether it's a conspiracy or not, the

 5      question of what the intent was of the conspiracy, that is, to

 6      extract money from unwitting or witting victims to receive

 7      money for some service that has not been established to involve

 8      a bribe of a specific amount amounts to the same thing under

 9      this analysis.

10                MS. KEARNEY:     No, Your Honor.     The amounts paid by the

11      defendant to both USC's account at the Galen Center as well as

12      to Mr. Singer would be gains to the conspiracy as a whole.          In

13      addition, the --

14                THE COURT:     No, but the conspiracy has to be one

15      that's violative of federal law, and what you've said is or the

16      assumption that I've dealt with -- I'm not sure you said

17      this -- but essentially, it's not a bribery that can be

18      recognized under the sentencing guidelines because it's too

19      speculative, at best too speculative.         So then we're left with

20      what do we say?     There's money sloshing around, and we should

21      use the sloshing around money as the basis for calculating a

22      guideline.

23                MS. KEARNEY:     That's one basis.     In addition, the

24      other gain here is the admission spot itself --

25                THE COURT:     What's the value of that?
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 1                 MS. KEARNEY:    -- which is not easily valuable --

 2                 THE COURT:    Right.   So I can't calculate that.       See,

 3      the point I'm getting to is these are -- they're not

 4      comprehended by the guidelines.        These are outside of the

 5      guidelines.    The guidelines, we're talking about fraud

 6      guidelines which have their own problems generally, simply

 7      because of the versatility of fraud.        There's so many ways that

 8      people can commit fraud, and every time there's a new one, it

 9      doesn't really fit into the guidelines themselves.           What you

10      essentially have is a kind of Procrustean bed.          Procrustes was

11      a Greek mythological figure who took slaves and cut them to the

12      size of the bed that he had, not because that fit them, but

13      because it fit the structure that he was trying to deal with.

14      That's what the guidelines are on this, and on many things,

15      frankly.

16                 So I do have to decide what the guidelines are.         I'm

17      doing my best to do that.       There's been a challenge to the

18      Probation Office.     I'll put to one side whether or not that was

19      a hyperventilating challenge but a challenge.          The U.S.

20      Attorney's Office says that the Probation Office disregarded

21      their views.    There is no basis for saying that that happened.

22      They considered their views.

23                 Now, the Probation Office has their point of view.

24      The reason I have them sitting over there is they are mere

25      witnesses in this court, which brings me to another point.
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 1      that's something you can answer?

 2                  MS. KEARNEY:   Yes, Your Honor, I can answer that, and

 3      that is correct.

 4                  THE COURT:   All right.    So now we're back to this

 5      issue of evaluating what Probation says, what the government

 6      says and challenge to it.       Put to one side the tone and also

 7      the kind of defensiveness that was evidenced by the Probation

 8      Office, which should understand that they're subject to

 9      challenge like everybody else, and I make the decision or my

10      colleagues make the decision ultimately.         That's what the

11      adversarial process is all about.        But we're back down to this

12      question.    We just can't figure a guideline without stretching

13      -- an amount with respect to the guideline without stretching

14      it in some fashion that is wholly speculative.

15                  MS. KEARNEY:   Well, going back to, we discussed

16      valuing the admission spot, and it's not wholly speculative in

17      the sense that we know what it was worth to the defendant, what

18      he was willing to pay for it.

19                  THE COURT:   But let's pause with that, too, because I

20      want to be sure that I understand for purposes of making an

21      evaluation that is applicable, generally applicable.           Does the

22      culpability of a defendant depend upon the amount of money he

23      paid for the admission slot?

24                  MS. KEARNEY:   Yes.

25                  THE COURT:   How?   So somebody drives a hard bargain
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 1   someone who has got the same background.         Profoundly corrosive.

 2   Probably as corrosive as anything that can happen in the

 3   criminal justice system to have disparate sentences.           So the

 4   Sentencing Reform Act, the sentencing guidelines were meant

 5   address that.    It's very hard, as this case indicates, to

 6   develop guidelines that adequately capture some new form of

 7   fraud.   New form in the sense that it hasn't been focused in

 8   some way.

 9               I've looked at the cases that the government has

10   suggested as alternative ways.       I don't think anybody has done

11   an evaluation of this case any better than Judge Talwani.            I

12   believe that she's carefully considered all of the factors.

13   And so while I would act disparately if I thought that it was

14   important to act disparately I'm not going to act disparately

15   from her general structure, which seems to me to be carefully

16   thought out and exercised with principle.

17               Now, I said it before, I'll say it again.       I also

18   think the government's recommendations are presented in a

19   principled way.    They're not and haven't been knee-jerk.

20   They've attempted to deal with, as they think appropriate, the

21   differences among the defendants.       It's simply that I think

22   it's in this defendant's case and in the cases that Judge

23   Talwani dealt with as I understand them, and I try to

24   understand them by reading carefully the docket in Abbott.

25   That seems to me to set the proper kind of range.          And so I can
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 1                     CERTIFICATE OF OFFICIAL REPORTER

 2

 3                   I, Kelly Mortellite, Registered Merit Reporter

 4   and Certified Realtime Reporter, in and for the United States

 5   District Court for the District of Massachusetts, do hereby

 6   certify that the foregoing transcript is a true and correct

 7   transcript of the stenographically reported proceedings held in

 8   the above-entitled matter to the best of my skill and ability.

 9                         Dated this 4th day of November, 2019.

10

11                         /s/ Kelly Mortellite

12                         _______________________________

13                         Kelly Mortellite, RMR, CRR

14                         Official Court Reporter

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